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                                  ID #:329
Case 8:24-cv-01486-JVS-KES   Document 106 Filed 11/20/24   Page 34 of 46 Page
                                  ID #:330
Case 8:24-cv-01486-JVS-KES   Document 106 Filed 11/20/24   Page 35 of 46 Page
                                  ID #:331
Yahoo Mail - Re: Where's the rest of it?                  https://mail.yahoo.com/d/folders/125/messages/AGQ92mweugs0Zyh59...
                Case 8:24-cv-01486-JVS-KES    Document 106 Filed 11/20/24          Page 36 of 46 Page
                                                   ID #:332
                $100 per month from you. Period. You have no bargaining power, since
                you already agreed to pay me that much, and you already agreed in
                writing to cover the paypal fees if you use paypal. I am under no
                obligation to compromise with you at this point. It's called the "pre-existing
                duty rule," and you can read about it here: https://www.lsd.law/define/pre-
                existing-duty-doctrine

                I believe this email correspondence satisfies the requirement under
                CACD's local rules to attempt to work things out with you before filing a
                motion. If the deadline for the payment comes and goes without you
                sending me the difference, I will file a second motion for contempt of
                court.




                  On Monday, November 4, 2024 at 01:24:25 AM CST, Jarrod Jones
                  <jarrod@stangranch.com> wrote:



                  Dear Mr. Stebbins,

                  Firstly, to clarify, this is Jarrod Jones responding directly. I am aiming
                  to communicate in a formal and straightforward manner to address
                  your concerns.

                  Regarding the continued use of PayPal, I initially offered to make
                  payments via direct bank transfer, a straightforward method with no
                  associated transaction fees. However, you declined this option, instead
                  insisting on a $5,000 "damage clause" should your bank account
                  number ever be disclosed. This demand was unreasonable and
                  disproportionate, and as a result, I agreed to use PayPal as a
                  compromise to meet your preferences.

                  Since then, you have not requested any change in payment method,
                  nor have you raised any complaints about the use of PayPal until now.
                  Given that there was no objection on your part previously, PayPal
                  remains in use as the agreed payment method per your preference.



2 of 5                                                                                                   11/4/2024, 7:54 AM
Yahoo Mail - Re: Where's the rest of it?                  https://mail.yahoo.com/d/folders/125/messages/AGQ92mweugs0Zyh59...
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                                                  ID #:333
                  As for the additional fees you mentioned, the extra $5 paid in
                  September and October was sent in error. The settlement specifies
                  that I am to pay you $100 per month, and there was no requirement
                  for me to cover additional PayPal fees. Since you chose PayPal as the
                  payment method, any transaction fees associated with it should
                  reasonably be your responsibility. A bank transfer would have avoided
                  these fees entirely, but since you specified PayPal, the fees are an
                  inherent part of that choice.

                  Please confirm that this response resolves the issue, so we can
                  proceed without further complications.

                  Sincerely,
                  Jarrod Jones

                  On 11/3/2024 11:01 PM, Acerthorn wrote:
                    First of all, who am I talking to? Jarrod Jones, or some lawyer who
                    is assisting him? Because your cadence of speech suggests the
                    latter. You do realize, don't you, that it is a violation of lawyer's
                    ethics to represent someone without transparently disclosing that
                    you're representing that person?

                    That being said, I did not agree to that. I merely suggested paypal
                    as a one-time arrangement, since, by September, you hadn't yet
                    mailed the first check to me and it wasn't going to reach me by
                    September 5th. From there, it was you, not me, who continued to
                    use paypal through October and November. I never suggested to
                    you that Paypal could simply be our new standard method of
                    payment. That was your idea.

                    Furthermore, you did indeed agree to the additional fees. Attached,
                    you will find an email from that time period. As you can clearly see, I
                    outright asked you "would you be willing to cover the extra fees to
                    paypal it to me," even explaining that this means sending me
                    $104.12 to ensure I would have $100 after the paypal fees were
                    taken out, and your exact words were "this is acceptable."

                    The fact that you sent me $105 via paypal, for both September and
                    October, shows that you understood this, and are only just now
                    trying to short change me. If you are indeed consulting a lawyer for


3 of 5                                                                                                   11/4/2024, 7:54 AM
Yahoo Mail - Re: Where's the rest of it?                  https://mail.yahoo.com/d/folders/125/messages/AGQ92mweugs0Zyh59...
                Case 8:24-cv-01486-JVS-KES   Document 106 Filed 11/20/24           Page 38 of 46 Page
                                                  ID #:334
                    this correspondence, I'm sure he can tell you that your past actions
                    clearly show that you understood you were responsible for the
                    paypal fees, just the same as you'd be responsible for paying for
                    the postage and tracking number (as well as the merchant's fees to
                    buy the money order in the first place) if you were to just mail it to
                    me.

                    So no, this is not acceptable. As I said earlier, I only got $96.02
                    from you. That means you're $3.98 short. According to the same
                    calculator I used last time, you will need to paypal me at least an
                    additional $4.63 to make up the rest.

                    And from now on, you need to make certain that you are legally in
                    the clear before you try to con me.




                    On Monday, November 4, 2024 at 12:48:10 AM CST, Jarrod Jones
                    <jarrod@stangranch.com> wrote:



                    Dear Mr. Stebbins,

                    In regard to your recent message about the PayPal fees, I'd like to
                    point out that PayPal was not originally specified in our settlement
                    agreement. You requested this as the payment method after the
                    settlement was finalized, and I agreed in good faith to accommodate
                    your preference. Given that this was a post-settlement adjustment
                    you requested, any transaction fees associated with PayPal should
                    be your responsibility.

                    Since you chose this platform and it was not part of the original
                    terms, requiring me to cover those fees effectively changes the
                    payment amount, which was not agreed upon. Thus, it’s reasonable
                    to expect you to account for any fees that PayPal may deduct.

                    Please confirm that this addresses the matter to avoid any
                    unnecessary escalation.



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                                  ID #:339
Yahoo Mail - Re: Future payments                        https://mail.yahoo.com/d/folders/125/messages/ADisBf4SrY16ZzR4w...
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                                                 ID #:340
                 Remember that you already agreed to this settlement. I will not agree
                 to any modification of the settlement terms that changes the amount I
                 am to receive.

                 On Tuesday, November 12, 2024 at 06:35:41 PM CST, Jarrod Jones
                 <jarrod@stangranch.com> wrote:



                 Dear Mr. Stebbins,

                 You’re welcome to choose your preferred payment method, except for
                 mailed checks. Checks are not secure and carry risks of being lost,
                 stolen, or altered. There’s also the possibility of claims about not
                 receiving the check or disputes over the amount. For these reasons—
                 and due to the additional mailing costs—checks are not an option.

                 If your chosen payment method involves transaction fees, please note
                 that you’ll need to cover these. As you're inferring that PayPal has
                 transactional fees for withdrawals I have researched into it, and they
                 offer no fees for withdrawing money from your PayPal account if you
                 choose the less expedited method of withdrawal—I can only assume
                 that you are willfully performing the instant withdrawal method with
                 PayPal—I also cannot agree to a $5,000 penalty for any disclosure of
                 your account information, especially given past attempts to claim large
                 damages for minor delays.

                 I hope we can agree on a secure, straightforward payment option.
                 Thank you for understanding.

                 Sincerely,
                 Jarrod Jones

                 On 11/10/2024 2:46 PM, Acerthorn wrote:
                   So are you going to mail it?

                   On Sunday, November 10, 2024 at 01:50:57 AM CST, Acerthorn
                   <acerthorn@yahoo.com> wrote:




2 of 4                                                                                                11/13/2024, 4:25 AM
Yahoo Mail - Re: Future payments                         https://mail.yahoo.com/d/folders/125/messages/ADisBf4SrY16ZzR4w...
               Case 8:24-cv-01486-JVS-KES    Document 106 Filed 11/20/24         Page 45 of 46 Page
                                                  ID #:341
                   If you refuse to cover the paypal fees, then you can mail the check
                   to me. I will not send you my bank information unless you agree not
                   to share that information with anyone for any reason, under pain of a
                   $5,000 liquidated damages clause.

                   On Saturday, November 9, 2024 at 05:11:36 PM CST, Jarrod Jones
                   <jarrod@stangranch.com> wrote:



                   Dear Mr. Stebbins,

                   Thank you for your message regarding payment options. I want to
                   clarify that, moving forward, I will only be sending the agreed-upon
                   amount of $100 per month as outlined in our settlement agreement.
                   The settlement agreement explicitly states that each party is
                   responsible for their own costs and fees. As such, any additional
                   fees associated with receiving payments via PayPal or other
                   methods are your responsibility, as these are not covered in the
                   settlement terms.

                   Once the agreed-upon amount has been sent, those funds are
                   considered yours, and I am not obligated to cover any fees related
                   to their receipt or withdrawal. If PayPal’s fees are inconvenient, I am
                   open to using a direct bank transfer, which should avoid any extra
                   costs.

                   Please confirm how you would like to proceed.

                   Best regards,
                   Jarrod Jones


                   On 11/9/2024 11:22 AM, Acerthorn wrote:
                     From now on, will you continue to send $105 via paypal, or do
                     you just want to mail the checks to me with a tracking number in
                     the future?

                     For what it's worth, the cheapest tracking number is certified
                     mail, and that costs $4.85, but it also costs $0.73 for a stamp as


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